      Case 4:15-cr-00103-JAJ-HCA Document 277 Filed 10/20/15 Page 1 of 5
                                      EXHIBIT LIST
Criminal No. 4:15-cr-00103
Caption: U.S.A. v. BENTON et al
..........................................................................
..


                           GOVERNMENT EXHIBITS
GOVERNMENT
NUMBER DESCRIPTION                                      I O Obj R RSO OS            DATE

    76       emails AOL produced from Kesari’s
             account                                    X   X X      X            10/13/15

   87b       emails AOL produced from Kesari’s
             account                                    X   X X      X            10/14/15

    77       emails re: ITC invoice payment             X   X X      X            10/13/15

    59       Feb 22 Cortes email                        X   X        X            10/13/15

   84b       email chain re: approval of invoice        X   X X      X            10/13/15

    85       email chain re: approval of invoice (2)    X   X X      X            10/13/15

    88       email chain: invoice attachment            X   X X      X            10/13/15

    89       email chain: re: April 2012 invoice        X   X X      X            10/14/15

    93       email between Cortes and Kesari            X   X        X            10/14/15

    95       email chain between Cortes and Koerber     X   X X      X            10/14/15

    98       email chain: re: June 2012 invoice         X   X X      X            10/14/15

   100       email chain: re June 2012 wire             X   X X      X            10/14/15
   104       email chain: continue June 2012 wire       X   X X      X            10/14/15

    61       Cortes 8/17/13 email                       X   X X      X            10/14/15

    62       Benton 8/17/13 email                       X   X X      X            10/14/15

    74       Tate & Kesari 2/7/2012 email               X   X X      X            10/14/15

    75       Tate & Kesari 2/7/2012 email (2nd )        X   X X      X            10/14/15

   87c       April Invoice 5/2/12 email                 X   X X      X            10/14/15

    68       Sorenson to Kesari Email                   X   X X      X            10/14/15

    69       Kesari to Paul Kesari email                X   X X      X            10/14/15

    70       Sorenson to Kesari 1/26/12 email           X   X X      X            10/14/15

    71       Sorenson, Kesari, P Kesari 1/27/12 email   X   X X      X            10/14/15

I = Identified: O = Offered: Obj = Objection; R = Received;     RSO = Received Subject to
Objection; OS = Objection Sustained;
     Case 4:15-cr-00103-JAJ-HCA Document 277 Filed 10/20/15 Page 2 of 5
    78     Sorenson to Kesari 3/4/12        X X X       X         10/14/15

    79       Sorenson to Kesari 3/4&18/12 email       X   X X      X            10/14/15

    80       Kesari to P Kesari 3/18/12 email         X   X X      X            10/14/15

    81       Sonny to Kesari 3/21/12 email            X   X X      X            10/14/15

    82       Sorenson email 3/26/12                   X   X X      X            10/14/15

    83       Sonny to Kesari 3/26/12 email            X   X X      X            10/14/15

    86       Sonny, Sorenson, Kesari emails 2/10/15   X   X X      X            10/14/15
             and 3/1-2/15

   87a       April Invoice Email                      X   X X      X            10/14/15

    90       Sorenson, Sonny, Kesari Feb-May 2012     X   X X      X            10/14/15

    92       Sonny & Kesari 5/24/12 email             X   X X      X            10/14/15

    97       Sonny & Kesari email re: June Invoices   X   X X      X            10/14/15

   101       Email re:June Invoice 6/25/12            X   X X      X            10/14/15

   102       Email re:June Invoice 6/25/12 (2nd )     X   X X      X            10/14/15

   103       Email re:June Invoice 6/25/12 (3rd )     X   X X      X            10/14/15
   159       Email from Kesari’s computer             X   X X      X            10/14/15

    63       Kesari, Cortes, Benton, Tate 12/28/12    X   X X      X            10/14/15
             email

    49       Benton & Weiner email 12/28/12           X   X X      X            10/14/12
             ***(received only as to Benton)

    50       Benton & Feldmann email 12/29/12         X   X X      X            10/14/15
             ***(received only as to Benton)

    64       email re:25K wire 12/29/11               X   X X      X            10/14/15

    65       email re:25K wire 12/29/11 (2nd )        X   X X      X            10/14/15

    67       Tate/Cortes email 12/29/11               X   X X      X            10/14/15

   143       FEC Form Exploratory Comm.               X   X X      X            10/14/15

   144       FEC Form #1 for RPPC                     X   X X      X            10/14/15

   145       FEC Receipts/Disbursements               X   X X      X            10/14/15

   146       FEC Receipts/Disbursements               X   X X      X            10/14/15

   147       FEC Receipts/Disbursements               X   X X      X            10/14/15

   148       FEC Receipts/Disbursements               X   X X      X            10/14/15

    4        Email from Benton on 6/15/11             X   X X      X            10/14/15


I = Identified: O = Offered: Obj = Objection; R = Received;   RSO = Received Subject to
Objection; OS = Objection Sustained;
        Case 4:15-cr-00103-JAJ-HCA Document 277 Filed 10/20/15 Page 3 of 5
    5         Email between Benton, Tate, Coburn X X X     X         10/14/15
              10/28/11

    6         Email between Tate & Kesari 10/28/11     X   X X     X            10/14/15

    11        Email between Tate & Kesari 10/31/11     X   X X     X            10/14/15

    14        Email Tate, Kesari, Benton 11/13/11      X   X X     X            10/14/15

    16        Email from Kesari 11/14/11               X   X X     X            10/14/15

    17        Email between Tate, Kesari, Benton       X   X X     X            10/14/15
              11/15/11

    18        Email re:Dinner between Sorenson and     X   X X     X            10/14/15
              Kesari

    19        Email between Kesari & Benton 11/16/11   X   X X     X            10/14/15
              (unredacted version omitted)

    20        Email between Kesari, Benton, Tate       X   X X     X            10/14/15
              11/17/11

    21        Email between Kesari, Benton, Tate       X   X X     X            10/14/15
              11/21/11

    24        Email between Kesari & Benton 12/7/11    X   X X     X            10/14/15

    25        Email between Tate & Kesari 12/7/11      X   X X     X            10/14/15

    26        Email between Tate & Kesari 12/9/11      X   X X     X            10/14/15

    27        Email between Coburn, Tate, Kesari,      X   X X     X            10/14/15
              Benton 12/20/11 (received as redacted)

    28        Email between Sorenson & Kesari          X   X X     X            10/14/15
              12/23/11 ***(only admitted against
              Kesari)

    29        Email between Tate, Stafford, Olson      X   X X     X            10/14/15
              12/23/11 ***(only admitted against
              Benton)

    30        Email to Sorenson 12/24/11               X   X X     X            10/14/15

    31        Email between Kesari, Tate, Coburn,      X   X X     X            10/15/15
              Benton, Hawes

    32        Email Chain 12/26/11                     X   X X     X            10/15/15

    33        Email re:Sorenson Statement 12/26/11     X   X X     X            10/15/15

    34        Email 12/27/11 re:Sorenson cold feet     X   X X     X            10/15/15

    35        Email 12/27/11 re:Sorenson cold feet     X   X X     X            10/15/15

    36        Email 12/27/11 re:Sorenson cold feet     X   X X     X            10/15/15


I = Identified: O = Offered: Obj = Objection; R = Received;   RSO = Received Subject to
Objection; OS = Objection Sustained;
        Case 4:15-cr-00103-JAJ-HCA Document 277 Filed 10/20/15 Page 4 of 5

    37        Email 12/27/11 re:Sorenson cold feet       X   X X   X            10/15/15

    38        Email 12/27/11 re: Kent                    X   X X   X            10/15/15

    39        Email 12/27/11 re: Kent (2)                X   X X   X            10/15/15

    40        Kesari to Sorenson Email 12/28/11          X   X X   X            10/15/15

    41        Email between Benton, Tate, and Kesari     X   X X   X            10/15/15
              12/27/11

    42        Kesari to Sorenson Email 12/27/11          X   X X   X            10/15/15

    43        Kesari, Benton, Tate Email 12/27/11        X   X X   X            10/15/15

    44        Tate email 12/27/11                        X   X X   X            10/15/15

    45        AJ Spiker Email 12/28/11                   X   X X   X            10/15/15

    46        Emails morning of 12/28/11                 X   X X   X            10/15/15

    47        Gary Howard email 12/28/11 with Press      X   X X   X            10/15/15
              Release included

    56        Email 1/16/12 re:Sorenson South Carolina   X   X X   X            10/15/15

    57        Gary Barrett 1/20/12 email                 X   X X   X            10/15/15

    51        Email re: Sorenson Statement $             X   X X   X            10/15/15
              ***(received only against Benton)

    52        Email re:KCCI Report 12/29/11              X   X X   X            10/15/15
              ***(received only against Benton)

    7         Aaron Dorr email 10/29/11                  X   X X   X            10/15/15

    10        Response to Dorr email 10/31/11            X   X X   X            10/15/15

    12        Dorr email response to response 11/2/11    X   X X   X            10/15/15

    13        Benton response to Dorr                    X   X X   X            10/15/15

    23        Benton to Dorr email 11/21/11              X   X X   X            10/15/15

   133        Designer Goldsmith Inc Check               X   X X   X            10/15/15

    91        Email re: additional invoices 5/21/12      X   X X   X            10/16/15

   153        Grassroots Strategy Bank Records           X   X X   X            10/16/15

    60        Sorenson/Kesari email 8/7/13               X   X X   X            10/16/15

    72        P.Kesari to Sonny email 2/2/12             X   X X   X            10/16/15

    73        Production Services Invoice                X   X X   X            10/16/15

    96        Sonny email re: June Invoice               X   X X   X            10/16/15


I = Identified: O = Offered: Obj = Objection; R = Received;   RSO = Received Subject to
Objection; OS = Objection Sustained;
        Case 4:15-cr-00103-JAJ-HCA Document 277 Filed 10/20/15 Page 5 of 5

   166        Fusaro/Sorenson phone conversation         X   X        X            10/16/15

   134        Text message itemization                   X   X X      X            10/19/15

 105-132      Christmas Day Emails re: press release     X   X X      X            10/19/15

    1         CD containing Cellbrite report of Kesari   X   X X      X            10/15/15
              phone search

    2         Yoo search report for Kesari phone and     X   X X      X            10/15/15
              computer


                                     DEFENSE EXHIBITS
DEFENSE
NUMBER DESCRIPTION                                       I O Obj R RSO OS            DATE

 Kesari E     Spanos 6/21/13 email                       X   X        X            10/19/15
 Kesari F     Sorenson Plea Agreement                    X   X        X            10/16/15

Benton 18     Packet of docs from proffer session        X   X        X            10/19/15

Benton 19     Coburn grand jury testimony                X   X        X            10/19/15

 Benton 1     Benton Calendar                            X   X        X            10/19/15

Benton 20     Benton’s campaign cellphone                X   X        X            10/19/15




I = Identified: O = Offered: Obj = Objection; R = Received;      RSO = Received Subject to
Objection; OS = Objection Sustained;
